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        PRODUCTS & SUPPLIERS
        Plexipave and Plexicushion Tennis Court Surfaces
        Advanced acrylic tennis surface systems for indoor and outdoor tennis facilities
                                                         Plexipave and Plexicushion systems are advanced tennis surfacing
                                                   systems designed to provide players with the highest levels of surface
                                                   performance for competition and cushioning for safe training.

                                                   The Plexipave Color Finish system is an all-weather, durable
                                                   quick-drying color surfacer that provides superior resistance to
                                                   deterioration from ultra-violet rays. Plexipave is a 100% acrylic latex
                                                   color intense sports surface formulated for use over asphalt and concrete.

                                                   The Plexicushion System combines the consistent bounce, sure footing
                                                   and outstanding durability of Plexipave with the innovative, shock-absorbing
                                                   properties of EPDM rubber cushioning. The result is a tennis surface that
                                                   dynamically responds to body impact and reduces fatigue on legs, knees,
                                                   ankles and feet.
        The Plexicushion substrate, a special blend of latex, rubber and plastic
        particles forms a resilient layer that absorbs body shock and reduces
        muscle fatigue. The 100% acrylic Plexipave surface provides uniform
        bounce, long lasting color and allows speed of play specification.

        System Components Plexipave and Plexicushion are engineered tennis
        surface systems made up of innovative materials installed according to
        rigid application specifications. Each layer in the system serves a specific
        purpose, and contributes to the quality of the finished court.

        Textured line paint insures uniform ball bounce.

        Highly pigmented finishes allow speed of play specification.
        (Available in a popular palette of colors)

        Multiple Plexipave acrylic layers for the firm, uniform and durable surface
        Plexipave and Plexicushion are noted for.

        Plexicushion is an enhancement that provides dynamic response to body impact, attenuates foot and leg shock, and reduces fatigue.

        A filler undercoat.
        The Systems can be installed indoors or outdoors, on asphalt or concrete.
        Additional Plexipave products are used for patching, leveling and etching base surfaces.
        Acrylotex
        Strategic color selections can help create walkways and pathways to “nudge” desired pedestrian traffic flows. Acylotex decorative pavement is fully pigmented to provid
        aesthetically pleasing colors that harmonize with surrounding areas.
        · Create beautiful patios, walkways, pool decks, steps and driveways that are attractive, practical, protective and economical.
        · Durable, slip resistant surface designed to beautify new and existing concrete or asphalt.
        · Choose from 9 standard colors or from a wide assortment of custom color combinations.
        · Superior adhesion characteristics prevent flaking and peeling on both concrete and asphalt.
        · Can be applied over stained concrete surfaces to restore the look without costly replacement.
        · Unique color formula makes Acrylotex surface color pigments resistant to fading from UV exposure.
        Mildew resistant, non-toxic acrylic will not harm plants or animals.
        Acrylotex, an affordable decorative and functional pavement coating for application on asphalt and concrete surfaces. It is much more durable and permanent than pain
        maintain than pavers and decorative concrete.




        Plexicourt Basketball / Multisport Court Surfaces
        Advanced Basketball and Sport surface systems for indoor and outdoor athletic facilities
        Plexicourt is a high performance basketball court and sport surface system made for both indoor and outdoor use. Incorporating years of sports surface manufacturing
        advancements in material technology to ensure a safe and comfortable surface, Plexicourt is ideal for both competitive basketball and multisport courts as well as outdo
        Plexicourt's textured surface design delivers unparalleled grip performance in game play, allowing greater control and safety when jumping and turning in close proxim
        PLEXICOURT PRODUCTS
        Plexicourt sport surfaces are ideal for basketball, badminton, volleyball, and netball
        courts as well as for inline hockey, skate parks, play areas and multi-sport
        recreational areas. Three distinct textures allow the owner and athlete to select the
        surface system that best matches their need for traction and abrasion resistance:
        PLEXICOURT LA - Standard texture court surface
        Basketball requires excellent slip resistance and durability in high traffic areas.
        The finer texture provides great surface traction for superior control and pliability.
        System components include:
        · Surface preparations
        · Acrylotex MA - to provide a uniform underlayment.
        Acrylotex LA - a highly pigmented, UV resistant coating incorporated with a fine
        textured finish. Ideal for both indoors or outdoors court surfaces.
        PLEXICOURT MA - course texture court surface
        Some sports played outdoors such as netball benefit from a more textured surface to provide improved traction and playability in damp conditions. An economic sports
        applications. System components include:
        · Surface preparations
        Acrylotex LA - a highly pigmented, UV resistant coating incorporated with a course textured finish
        PLEXICOURT SS - smooth texture court surface
        Sports such as volleyball prefer a smoother court surface finish that has minimal abrasion. The finish texture of Plexicourt SS is appropriate for indoor sport facilities an
        conditions. System components include:

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        · Surface preparations
        · Acrylotex LA / Plexichrome - a highly pigmented, UV resistant coating incorporated with a fine textured finish.
        Plexiflor - a reinforced, smooth acrylic coating especially formulated for use over asphalt or concrete.
                                                          PLEXICOURT ADVANTAGES
                                                  Plexicourt uniquely combines Plexipave System products to achieve the longevity and playability required for indoor and outdo
                                                  have been used for over twenty years by a wide variety of owners on both asphalt and concrete. Dependable performance has
                                                  TRACTION AND FRICTION
                                                Plexicourt provides players and owners the best options to decide traction and abrasion combinations. Smooth surfaces are idea
                                                  facilities. Courser textures for favor damp play conditions and where extra athletic surface grip is desired.
                                                  PLEXICOURT COLORS
                                                  Color intense Plexicourt is available in twelve popular colors. Excellent ultraviolet light stability keeps your surface bright for ye
                                                  upon request.




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